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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           19CR77-JB                     DATE: May 7, 2020

TITLE: USA v Nissen

COURTROOM CLERK: J. Wright                       COURT REPORTER: R. Brazil

COURT IN SESSION: 2:25PM-3:22PM                  TOTAL TIME: 58 MINUTES

TYPE OF PROCEEDING: Second MOTION for Psychiatric/Psychological Exam [Doc. 137]

COURT RULING:                MOTION AND RULING HELD IN ABEYANCE


ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Paul Mysliwiec                                   Joe Romero
 Alexander Uballez


PROCEEDINGS:

2:25PM        COURT IN SESSION; COUNSEL ENTER APPEARANCES; DEFENDANT APPEARS IN CUSTODY.

2:25PM        MR. ROMERO ARGUES HIS MOTION. DEFENDANT STATES DEFENSE COUNSEL DOESN’T

              HAVE HIS PERMISSION TO ARGUE THE MOTION BUT THEN CONSENTS TO MR. ROMERO

              PRESENTING HIS MOTION.

2:29PM        DEFENDANT DISRUPTS THE PROCEEDINGS; COURT TRIES TO GET THE DEFENDANT TO

              UNDERSTAND THE PROCEEDINGS AND OFFERS TO LET HIM SPEAK LATER. DEFENDANT

              CONTINUES TO BE DISRUPTIVE; COURT ORDERS THE US MARSHALS TO REMOVE THE

              DEFENDANT FROM THE PROCEEDINGS. DEFENDANT IS REMOVED. DEFENSE COUNSEL

              CONTINUES THE PRESENTATION OF HIS MOTION.

2:37PM        AS THE COURT PROMISED, COURT HAS DEFENDANT RETURNED TO THE COURTROOM TO

              SPEAK. DEFENDANT STATES HE HAS NO RESPONSE; DEFENSE COUNSEL DIDN’T HAVE


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              PERMISSION TO FILE THE MOTION. DEFENDANT IS SEATED.

2:38PM        GOVERNMENT RESPONDS AND DOES NOT OBJECT TO DEFENDANT BEING SENT TO AN FCI

              FOR EVALUATION AND TREATMENT.

2:58PM        PROBATION STATES DEFENDANT HAS BEEN IN CUSTODY 16 MONTHS AND 9 DAYS

3:01PM        DEFENSE STATES DEFENDANT’S MENTAL HEALTH STILL CONCERNS HIM AND SHOULD

              BE SENT TO BUTNER.

3:03PM        GOVERNMENT HAS TWO OBJECTIONS TO THE MOST RECENT PSR.

3:05PM        COURT IS INCLINED TO TAKE THE MOTION UNDER ADVISEMENT AND IS INCLINED TO SEND

              THE DEFENDANT TO BUTNER FCI.

3:11PM        COURT ASKS DEFENDANT IF HE WILL TALK TO DR. BROVKO AGAIN. DEFENDANT ALLOCUTES

              BUT DOES NOT GIVE A STRAIGHT ANSWER. DEFENDANT SAYS HE WILL SPEAK WITH DR.

              BROVKO AND WILL BE COOPERATIVE.

3:18PM        COURT WILL HAVE DR. BROVKO RETURN TO EVALUATE THE DEFENDANT.

3:19PM        COURT ORDER DR. BROVKO TO EVALUATE THE DEFENDANT. COURT WILL HOLD THE

              MOTION IN ABEYANCE UNTIL AFTER THE EVALUATION. DEFENSE COUNSEL WILL ADVISE

              COURTROOM DEPUTY AFTERWARD WHETHER A RULING ON THE MOTION IS NEEDED OR

              PROCEED TO SENTENCING.

3:21PM        SENTENCING FOR TODAY IS VACATED AND WILL RESET AFTER THE EVALUATION.

3:22PM        COUNSEL HAVE NOTHING FURTHER.

3:23PM        COURT STANDS IN RECESS.




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